                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

ERIC KROHM, individually, and on behalf of           )
others similarly situated,                           )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )            JUDGMENT
                                                     )          5:19-CV-173-BO
EPIC GAMES, INC.,                                    )
                                                     )
                              Defendant.             )
                                                     )

Decision by Court.
This matter is before the Court on defendant’s motion to dismiss plaintiff’s complaint for failure
to state a claim, or in the alternative, to compel arbitration [DE 28]. Plaintiff has moved to
remand [DE 31] and to stay briefing [DE 33].

IT IS ORDERED, ADJUDGED AND DECREED defendant’s motion to dismiss [DE 28] for
failure to state a claim is DENIED. Plaintiff’s motions to remand [DE 31] and to stay briefing
[DE 33] are also DENIED. The case is DISMISSED WITHOUT PREJUDICE for lack of
jurisdiction.

This case is closed.

This judgment filed and entered on October 1, 2019, and served on:
Daniel Bryson (via CM/ECF Notice of Electronic Filing)
Jad Sheikali (via CM/ECF Notice of Electronic Filing)
Myles McGuire (via CM/ECF Notice of Electronic Filing)
Patrick Wallace (via CM/ECF Notice of Electronic Filing)
Timothy Kingsbury (via CM/ECF Notice of Electronic Filing)
Jeffrey Jacobson (via CM/ECF Notice of Electronic Filing)
Andrew Shores (via CM/ECF Notice of Electronic Filing)
Robert Van Arnam (via CM/ECF Notice of Electronic Filing)
Wes Camden (via CM/ECF Notice of Electronic Filing)


                                             PETER A. MOORE, JR., CLERK
October 1, 2019
                                              /s/Lindsay Stouch
                                             By: Deputy Clerk




            Case 5:19-cv-00173-BO Document 38 Filed 10/01/19 Page 1 of 1
